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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                           Case No. 19-25230-CIV-WILLIAMS

  ROSA ACOSTA, et al.,

        Plaintiffs,

  vs.

  O-LIVE ENTERTAINMENT, INC., et al,

        Defendants.
                                   /
                                         ORDER

        THIS MATTER is before the Court on Magistrate Judge Edwin G. Torres’ report

  and recommendation (the “Report”) (DE 18) regarding Plaintiffs’ amended motion for final

  default judgment against Defendants O-Live Entertainment, Inc. and Heads or Tails

  Vixens, LLC. (DE 15).     No objections to the Report were filed. Accordingly, upon an

  independent review of the Report, the record, and applicable case law, it is ORDERED

  AND ADJUDGED as follows:

        1. The conclusions in the Report (DE 18) are AFFIRMED AND ADOPTED.

        2. Plaintiffs’ amended motion for default judgment (DE 15) is GRANTED IN PART
           AND DENIED IN PART.

        3. Plaintiffs’ amended motion for default judgment (DE 15) is GRANTED as to
           Counts I, II, III, and IV. The motion is DENIED as to Counts V and VI.

        4. Plaintiffs’ request for $215,000.00 in damages and $586.30 for expert costs,
           filing fees, service of process, and other administrative expenses is GRANTED.

        5. Plaintiffs’ request for Defendants to complete Florida Rules of Civil Procedure
           Form 1.977(b) Fact Information Sheet, including all required attachments,
           within forty-five (45) days from the date this Court’s judgment is GRANTED.

        6. All pending motions are DENIED as moot. The Clerk is directed to CLOSE this
           case.
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          DONE AND ORDERED in Chambers in Miami, Florida, this 29th day of December,

  2020.




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